                    Case 2:22-cv-03061-GGG-MBN Document 1-1 Filed 08/31/22 Page 1 of 9


.XITORNEY'S NAM E:              Rand, Lee W 08544
 AND ADDRESS:                   1010 Cornmon SL Suite 2700, New Orleans,IA70112

                            CIVIL DISTRICT COURT FOlt TÍIE PARISH DF ORLEAN
                                                         STATE OF LOÜISìÁNA
               NO: 2022-06155,                                :DIVISION J                                           SECTIONr15
                                                           ANDREWSpANNA S.
                                                                   Versus
                    GAT HOLDINGS, INC: A/K/A GATcAIRLINE GROUND SUPPORTpINC ET AL
                                                 CITATION
TOi                     STARR INDEMNITY A LIABILITY CO. A/K/A STARR SPECIALTY INS(CO.
THIROUGH:               THEIR REGISTERED AGENT FÖIESERVICE OF PROCESSi LOÙISIANÀ SEDRETÁRY
                        OF STATE
                        8585 ARCHIVES AVE., BATON ROUGE, LA 70809
YOU HAVE BEEN SUED:
You must either comply with the demand contained in the
Petition for Damages
a certified copy of which accompanies this citation, offile an answer or othef legal pleading within the delay
provided by Civil Code of Procedure Article 1001. The mentioned article is noted on the bac of this pageTor
your reference You may make your filing în the office f the Clerk ofthis Court Room402 Civil Coui·ts
Building, 421 Loyola Avenue New Orleans, LÁ 70lT2
                                          ÁDDITIONAl INFORMÁTIÓN
      Legal asisistañce is advisable. If pon wantilawver aiid can't£hd óne; yön2may coïitadthù Nee
        Orleans Lasyer Referral Service t https;//neWorléansbar.conmfúñity.lawper/ This RéÉéñal Serviëe
        operates iù conjunction with the.NevfOrleans Bär Assüciátion. If you qùalify, you may bà entitled to
       free legal assistance throùgh Southéast I ouisianategal Servicès (SLI S) at 877-521-6242 ör 504-529
        1000.
       ********COURT PERSONNEL ARE NOT PERMITTEDRO GIVE LEGAL ADVICE********
IN WITNESS HEREOFJI have hereuntö seimy hand and affikähe Seal of the Civil DistrictÈourt für lhe
Parish of Orleans, State of LA July 13, 2022.
Clerlds Office, Room 402                                                        CHEIMEfRICHARDNAPOLEOl Clerk of
Civil Courts Building                                                           The Civil District Court
421 Loyola Avenue                                                               for the Parish ofOrleans.
New Orleans, LA 70112                                                           Stat i
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     ID: 1095349                                                  Page 1 of 2
                                                                                                                                             EXHIBIT
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            Case 2:22-cv-03061-GGG-MBN Document 1-1 Filed 08/31/22 Page 2 of 9


                                              Civil Code of Procedures .
                                                    Article 1001
Art. 100f. Delay for answering
          A A efendant shall filelis answer within twenty-one days after service of citation upon hinvexcept as
otherwise provided by law Ifthe plaintiff fifes and serves a discovery requestiùith his petition, the defendant shall
file his answer to the petition within thirty days after service of citation and servicàof discovery request
           B. When an exception ià filedprior to answer and is(overruled.or referred to the merits, or is sustained
and an arnendment of the petition ordered, the answer shall be filed within fifteen days after the exception is
overruled or referred to the meriis, or fiIben days aller service óf the amended petition.
          C. The couri may graùi additional time for answering.
          Acts12021, No. 174, §1, eif. Jan 1,,20222




    ID: 109534                                        Page 2 e 2
                     Case 2:22-cv-03061-GGG-MBN Document 1-1 Filed 08/31/22 Page 3 of 9


  ATTORNEY'S NA M E:                Rand, Lee W 08544
  AND ADDRESS:                      1010 CommonSt Suite2700,New orleans,LA70ll2

                           CIVIL DISTRICT C'OURT FOR THE PARISH OF ORLEÄlis
                                                                  STATE OF LOUISIANA
                NO: 2022-06155                                          DIVISION: J                                                SECTIpN: 15
                                                                    .ANDREWS, ANNA S.
                                                                                Versus
                     GAT HOLDINGS, INC. A/K/A GATAIRLINE GROUND SIJPPORT, INC ET AL
                                                    CITATION
 TO:                       GAT HOLDINGS, INC. A/K/A GAT AIRLINE GROUND SUPPORT, INC.
 THROUGH:                  THEIR REGISTERED AGENT ÈOR SERVICÉ ÖÈ PROCESS: INCORP SERVICES, INC .
                           3867 PLAZA TOWER DR., I ST FLOOR, BATON ROUGE, LA 70816
YOU HAVE BEEN SUED:
You must either comply with the demand contained.in the,
 Petition for Damages
 a certified copy of which accompanies this citation, or file an answer or other legal lsleading within the delây
provided by Civil Code of Procedure Article 1001. The mentioned article is noted on the back of this page for
your reference. You may make your filing in the office of the Clerk of this Cðurt, Room 402, Civil Courts
Building, 421 Loyöla Avenue, New Orleans, LA 70112.
                                                          ADDITIONAL INFORMATION
           Legal assistance is advisable. If you want a lawyer and can't find one, you may contact the New
          Orleans Lawyer Referral Service at https://neworleansbar.community.lawyer/. This Referral Service
          operates in conjunction with the New Orleans Bar Association. If you qualify, you may be entitled to
           free legal assistance through Southeast Louisiana Legal Services (SLLS) at 877-521-6242 or 504-529-
           1000.
          ********COURT PERSONNEL ARE NOT PERMITTED 0 GIVE LÉGAL ADVICE********
IN WITNESS HEREOF, I have hereunto set my hand and.affigthe seal of the Civil District Court for the
Parish of Orleans, State of LA July 13, 2022
Clerk!s Office, Room 402                                                                     CHELSEY RICHARD NAPOLEONi Clerk of
Civil Courts Building                                                                        The Civil District Court
421 Loyola Avenue                                                                            for e Parish of Orleanï
New Orleans, LA 70112.                                                                       Sta e i        A
                                                                                             Lae y Garci               eputy Cferk
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Ibtition ror Damages                                                                  Petition for Daninges
ON GAT nOLDINGS, INC. A/K/A CAT A I RLIN E CROUND SU P PORT,                          ON CAT llOLDINGS; INC A/K/A CAT AIRLINE CROt)ND SOPPORT,
INC.
1HROUGH TIIEIR RECl TERED AGENT FOR SERVíCIf Oli                                      111ROUGH: TilillR REGISTEREDACENT FORSERVICEOlt
PROC ESS: INCORP SERVICliS, INC.                                                      PROCESS: INCORPSERVICES,INC
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                                                 No.                                                  .                                     a person of suitable age ami
                                                                                      dscretion residing themin as a memkr of ik domiciliary establishment, whose
.Deputy Sheriff of                                                                    mme and other facts connected with this service i learned by interro gating
- Mí leage: $                                                                         HIM/HER the said CAT IlOLDíNCS, INC. A/K/A CAT AIRLINÉCIlût)ND
                                                                                      SUPPORT, INC. being absent from the domicile at time ofsaid service.
                                 / ENTE RE D /
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                                                                                      Deputy Sheriff of
           SERIAL NO                DEPOTV                       PARISH




       ID: 10953490                                                           Page 1 of2
             Case 2:22-cv-03061-GGG-MBN Document 1-1 Filed 08/31/22 Page 4 of 9


                                               Civil Code of Procedures
                                                     Article 1001
Art. 100L Delay for answering
          A. A defendant shall file his answer within twenty-one days aller service of citaiion upon him except as
otherwise provided by law. If the plaintiff files and serves a discovery request.with his pétition, the defendant shall
file his answer to the petition within thirty days after service of citation and service of discovery request.
           B. When an exception.is filed prior to answer and is overruled or referred to the merits, or is sustained
and an amendment4f the petition ordered, the answer shall be filed within fifteen days after the exception is
overruled or referred to the merits, or ftfieen days aller service of ilie amended petition.
          C. The court may grani additional time.for answering.
           Acts 2021, No. 174, §1, eff. Jan, 1 2022e




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    Case 2:22-cv-03061-GGG-MBN Document 1-1 Filed 08/31/22 Page 5 of 9




                  CIVIL DISTRICT COURT FOR THE PARISH OF ORLEANS

                                     STATE OF LOUISIANA

       Docket No.: ÑO7‰ É { [f Division " "                                                  Section:      .

                                       ANNA S. ANDREWS

                                               versus
                                                                                              §ECRD
                                                                                              ±c
                                                                                                    p5
      GAT HOLDINGS, INC. a/k/a GAT AIRLINE GROUND SUPPORT, Il¥€÷&                                              C
     STARR INDEMNITY & LIABILITY CO. a/k/a STARR SPECIALTY IN½ CO.

FILED:                                                             DEPUTY:

                                   PETITION FOR DAMAGES

       The Petition of Anna Andrews, a person of the full age of majority and a resident of the

State of Georgia, with respect represents:

                                                  I.

         That the following are named defendants herein:

         A. GAT HOLDINGS, INC. a/k/a GAT AIRLINE GROUND SUPPORT, INC. a/k/a
            G.A.T. AIRLINE GROUND SUPPOÍ              IF(¼,F11ggfigftdypegggd-tìWly referred to
            as "GAT", a foreign corporation licen9 d fit;¥nWBdin§MitTe§OiMhis Parish and
             State; and                                402 CB/lL COURTS BUILDING
                                                       421 LOYOLA.AVENUE - ROOM4J2
         B. STARR INDEMNITY & LIABILIWU61L&idM8MRRl2SPECIALTY INS.
            CO., hereinafter referred to as STAIMPa4fbleigiffhsurer, licensed to and doing
            business in this Parish and State.  Reo eipt Date    7/11/20223:499] PM
                                                      Re o eipt Number           000247
                                                  II. Cashier                   jboe
                                                      Register                  CDC Cash Register 1
         That the aforesaid defendants are justly and-tfuly-indebted_to_your-_petitionër_j.ointly,_and_._.
                                                       Case Number              2022-06155
severally, and in solido for the full and true sums g}gtngrggpsonableg q½pyemises, with legal
                                                       Am ount Receive d         @ 517 SJ
interest on all amounts from the date of judicigl           egagg until pgig,gglus all costs of this
                  .                                    Ove r P ayment           $ O.00
proceeding, to-wit:
                                                      Payment / Transaction List
                                                 III. C h e ok # 536 $517.50

         That on or about July 19th, 2021, petitioner, Anna Andrews, was a fare-paying passenger

flying aboard a Delta Airlines flight departing frotE*fouis Armstrong New ÓÜËfnds Intei a ional
                                                       Petition fotDamages               $444.50 $444.50 $0.00
Airport (hereinafter referred to as "the airport")."        Nd1VMa*ldng the reseriÃtfiÍd pelitiífder'
                                                       B uil din !;t Fund Fee            $25.0Ò   $25.00 $0.00
daughter advised that petitioner would require MÉ8flhy-ThÍisåfnce and                       d 38nfiMS9
                                                       JSC                                $27.50 $27.50 $0.00
wheelchair                                             Su prem e C ourt- Proc            $10.00 $10.00 $0.00
                                                       essing Fee
                                                 IV.

       That for many months and years prior to July 19th, 2021, Anna Andrews has suffered

from mobility problems and has and does require the use of a wheelchair for her mobility.
        Case 2:22-cv-03061-GGG-MBN Document 1-1 Filed 08/31/22 Page 6 of 9




                                                 V.

         That on July 198', 2021, Anna Andrews arrived at the airport, accompanied by her two

daughters, and was wheeled in her chair into the airport, through security and to the departure

gate.

                                                 VI.

          After waiting at the gate for the departure to be called, Ms. Andrews was invited to board

the Delta flight. She was wheeled down the jet bridge in her own chair, but just prior to boarding

the aircraft; she was informed that she would have to transfer to a smaller wheelchair for entry to

the plane as her personal wheelchair was too wide to traverse the aisle of the plane. She was

informed that her personal chair would be stowed as cargo and would be returned to her at her

destination. Anna Andrews agreed.

                                                 VII.

          That at all times relevant, defendant, GAT had a contractual agreement with Delta

Airlines to provide assistance to Delta Airline's passengers of the kind of assistance required by

Petitioner; furthermore GAT was permitted by the City of New Orleans through the New

Orleans Aviation Board to provide certain Commercial Support Activities ("CSAs") at the

airport, including, but not limited to providing Wheel Chair Assistance to Delta Air Lines

passengers.

                                                VIII.

          That on July 19th, 2021 employees or agents of GAT, who will be more particularly

identified during the course of discovery, were present during the boarding process of Anna

Andrews's flight, and provided the smaller "aisle chair" necessary to traverse the aisle of the

flight. In fact, it was to be an employee or agent of GAT who would ask Anna Andrews to leave

her wheelchair, transfer to the smaller chair, and then to assist Anna Andrews with boarding the

plane and taking her seat.

                                                 IX.

          That upon request, Anna Andrews alighted with assistance from her chair in an attempt to

transfer to the smaller chair as directed by Delta Airlines personnel and the employees of GAT.

Before alighting, Anna Andrews was sure to lock the wheels of her chair, so that as she

supported herself to get up, the chair did not roll out from under her.
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                                                   X.

          That Anna Andrews was assisted traversing the small lateral distance from her chair to

the smaller supplied chair by the employees of GAT, but in the process of taking the seat in the

smaller chair, she was caused to fall as the "aisle chair" she was instructed to sit in was moving

and the chair rolled out from under her. The wheels of the smaller "aisle chair" were not properly

locked as is required and would have been reasonable and prudent given the obvious nature of

plaintiff's infirmity. The failure of the GAT employee to lock the wheel brakes is what caused

the "ailse chair to move thus causing petitioner to fall to the floor of the jet bridge. It was the

duty of the employees of GAT to insure that the wheels of the smaller 'aisle chair" were safely

locked.

                                                   XI.

          At all times material hereto the employees of GAT who were assisting Anna Andrews at

the time of her fall were in the course and scope of their employment with GAT and as such

GAT is vicariously liable unto Anna Andrews for the negligent conduct of their employees

under the theory of Respondiate Superior.

                                                   XII.

          That the cause of the aforementioned accident was due to the actions and inactions of

GAT and its employees including, but not limited to the following non-exclusive particulars, or

may be shown at the trial of the cause:

          1.   Failure to lock the wheels of the "aisle chair;"

          2. Failure to act in a reasonable manner in controlling the "aisle chair" in light of
             petitioner's infirmities;

          3. Failure to act in a prudent manner in controlling the "aisle chair" in light of
             petitioner's infirmities;

          4. Failure to secure the "aisle chair" such that it would not move during the process of
             transferring Ms. Andrews to the smaller chair provided by GAT.

          5. Failure to call for the assistance of additional personnel in moving petitioner;

          6. Failing to provide a chair that was not defective and which could be locked to prevent
             the chair from moving during the transfer process.

          7. Failing to provide competent and adequately trained personnel to assist Ms. Andrews
             in the transfer process.

          8. Failure to render proper aid; and

          9. All other acts of commission or omission as may be discovered prior to trial.
      Case 2:22-cv-03061-GGG-MBN Document 1-1 Filed 08/31/22 Page 8 of 9




                                                 XIII.

          That as a direct and proximate cause of the aforesaid negligence, Petitioner, Anna

Andrews, suffered injuries to her mind and body consisting of, but not limited to, injuries to her

left hip, leil shoulder and face resulting in frequent nosebleeds not previously suffered, and

itemizes the categories of damages as follows:

                 A. Past, present and future pain, suffering, mental anguish and loss of life's

                     enjoyment; and

                 B. Medical expenses

                                                 XIV.

          That at all times relevant herein, GAT was insured by a policy of liability insurance

issued by STARR insuring GAT and its employees for the liability of the type described

hereinabove. Additionally, as a result of that policy of insurance STARR is liable jointly,

severally and in solido with GAT and its employees unto Anna Andrews for all damages which

she may have sustained.

                                                 XV.

          Petitioner avers amicable demand to no avail.

          WHEREFORE, Petitioner prays that the Defendants be duly cited to appear and answer

this petition and that they be served with copies of the same; that, after due proceedings, there be

judgment in favor of the Petitioner and against the Defendants jointly, severally, and in solido,

for the full and true sums that are reasonable in the premises with legal interest from the date of

judicial demand until paid, plus all costs of this proceeding and for all general and equitable

relief.

Resp ct lly subm tte ,




I         . RAND ht4544)
400 Poydras Street, Suite 2145
New Orleans, LA 70130
Telephone:       (504) 524-2298
Facsimile:       (504) 524-2291
Email:           1rand3@cox.net
   Case 2:22-cv-03061-GGG-MBN Document 1-1 Filed 08/31/22 Page 9 of 9




PLEASE SERVE DEFENDANTS

GAT HOLDINGS, INC. a/k/a GAT AIRLINE GROUND SUPPORT, INC.
(Through their Registered Agent for Service of Process)
INCORP Services, Inc.
3867 Plaza Tower Dr., 1" Floor
Baton Rouge, LA 70816

STARR INDEMNITY & LIABILITY CO. a/k/a STARR SPECIALTY INS. CO.
(Through their Registered Agent for Service of Process)
Louisiana Secretary of State
8585 Archives Ave.
Baton Rouge, LA 70809
